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                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


UNITED STATES OF AMERICA,                                MEMORANDUM DECISION AND
                                                         ORDER DENYING [78] MOTION FOR
                             Plaintiff,                  CREDIT FOR TIME SERVED
v.
                                                         Case No. 2:12-CR-662-DN-2
MICHAEL EMMANUEL ESPINOSA,
                                                         District Judge David Nuffer
                             Defendant.


           Defendant Michael Emmanuel Espinosa seeks a nunc pro tunc order granting him credit

against his sentence for time served during his pretrial detention. 1 Because Mr. Espinosa’s

pretrial detention occurred pursuant to a writ of habeas corpus ad prosequendum and because the

State of Utah granted credit against Mr. Espinosa’s state court sentence for this time, he is not

entitled to a credit against his sentence in this matter. Mr. Espinosa’s Motion for Credit for Time

Served is therefore DENIED.

                                                  BACKGROUND

           On September 20, 2012, Mr. Espinosa was arrested and placed in custody by the State of

Utah. 2 On October 24, 2012, Mr. Espinosa was indicted in this matter on one count of possession

of methamphetamine with intent to distribute under 21 U.S.C. § 841(a)(1). 3 Mr. Espinosa

remained in state custody until October 30, 2012, when he was brought before Magistrate Judge




1
 See Motion to Request a Nunc Pro Tunc Credit Time Served Designation and Final Disposition by a Person in
Federal Custody (“Motion for Credit for Time Served”), docket no. 78, filed Nov. 13, 2015.
2
 See id. at 1; Government’s Response to Defendant’s Motion for Credit for Time Served (“Government’s
Response”) at 1, docket no. 89, filed Mar. 23, 2016.
3
    See Indictment, docket no. 1, filed Oct. 24, 2012.
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Brooke C. Wells for an initial appearance. 4 This occurred through a writ of habeas corpus ad

prosequendum. 5

           On May 7, 2013, Mr. Espinosa pled guilty to the possession with intent to distribute

charge. 6 Mr. Espinosa was then sentenced on July 31, 2013, to 78 months imprisonment

followed by 48 months of supervised release pursuant to a Rule 11(c)(1)(C) plea agreement

(“Federal Sentence”). 7 Mr. Espinosa’s Federal Sentence was silent as to whether it would run

concurrent with or consecutive to Mr. Espinosa’s state court sentences. 8

           Mr. Espinosa remained in federal custody through his sentencing, and on August 12,

2013, was transported back to the Utah State Prison to complete his state court sentences, which

included a parole revocation sentence stemming from his September 20, 2012 arrest. 9 On

October 15, 2013, the State of Utah terminated Mr. Espinosa’s state court sentences and released

him into federal custody to serve his Federal Sentence. 10 The State of Utah credited all of the

time Mr. Espinosa spent incarcerated from September 2012 through October 2013 against his

state parole revocation sentence. 11




4
    See Minute Entry for Proceedings held before Magistrate Judge Brooke C. Wells, docket no. 8, Oct. 30, 2012.
5
    See Writ of Habeas Corpus ad prosequendum, docket no. 6, filed Oct. 25, 2012.
6
 See Minute Entry for Proceedings held before Magistrate Judge Evelyn J. Furse, docket no. 30, May 7, 2013;
Felony Information, docket no. 28, filed May 7, 2013.
7
 See Minute Entry for Proceedings held before Judge David Nuffer, docket no. 50, July 31, 2013; Judgment in a
Criminal Case at 2-3, docket no. 54, filed Aug. 6, 2013.
8
 See Minute Entry for Proceedings held before Judge David Nuffer, docket no. 50, July 31, 2013; Judgment in a
Criminal Case, docket no. 54, filed Aug. 6, 2013.
9
    See Motion for Credit for Time Served at 1.
10
     See id.; Government’s Response at 1.
11
     See Motion for Credit for Time Served at 1; Government’s Response at 1.



                                                                                                                  2
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           Mr. Espinosa now seeks a nunc pro tunc order granting credit against his Federal

Sentence for the time he served during his pretrial detention, i.e., from “October, 2012 to

October, 2013 or by at least from May, 2013 to October, 2013.” 12

                                                   DISCUSSION

           “The computation of a federal sentence requires consideration of two separate issues.” 13

“Initially, [the court will] determine the commencement date of the federal sentence and then

turn to the extent to which a defendant can receive credit for time spent in custody prior to

commencement of sentence.” 14 A federal sentence of imprisonment commences “on the date the

defendant is received in custody awaiting transportation to, or arrives voluntarily to commence

service of sentence at, the official detention facility at which the sentence is to be served.” 15

Therefore, “[a] federal sentence does not commence until a prisoner is actually received into

federal custody for that purpose.” 16 Credit against a federal sentence of imprisonment is given

“for any time [the defendant] has spent in official detention prior to the date the sentence

commences--(1) as a result of the offense for which the sentence was imposed; or (2) as a result

of any other charge for which the defendant was arrested after the commission of the offense for

which the sentence was imposed; that has not been credited against another sentence.” 17

           The State of Utah, not the federal government, was the first to take Mr. Espinosa into

custody following his September 20, 2012 arrest. The State of Utah therefore had primary




12
     Motion for Credit for Time Served at 3.
13
     Binford v. United States, 436 F.3d 1252, 1254 (10th Cir. 2006).
14
     Id.
15
     18 U.S.C. § 3585(a).
16
     Binford, 436 F.3d at 1255.
17
     18 U.S.C. ¶ 3585(b) (emphasis added).



                                                                                                       3
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custody of Mr. Espinosa and the right to maintain or relinquish control of him. 18 Because the

federal government took only temporary custody of Mr. Espinosa under a writ of habeas corpus

ad prosequendum, the State of Utah was entitled to Mr. Espinosa’s return after his federal

sentencing under the law of comity and the requirements of the writ. 19 This occurred on August

12, 2013, when Mr. Espinosa was transported back to the Utah State Prison to complete his state

court sentences. Accordingly, Mr. Espinosa’s Federal Sentence did not commence until October

15, 2013, when the State of Utah terminated his state court sentences and released him into

federal custody. 20

               Because Mr. Espinosa’s Federal Sentence did not begin to run until October 15, 2013,

and because Mr. Espinosa received credit against his state parole revocation sentence for all of

the time he spent incarcerated from September 2012 through October 2013, he is not entitled to

credit against his Federal Sentence for the time of his pretrial detention. “That is because [a

defendant] is not entitled to double credit.” 21 Additionally, because Mr. Espinosa’s Federal

Sentence was silent as to whether it would run concurrent with or consecutive to his state court

sentences, “a statutory presumption [wa]s triggered; multiple sentences imposed at different

times—even as between state and federal sentences—run consecutively.” 22 Mr. Espinosa

therefore is not entitled to credit against his Federal Sentence for the time of his pretrial detention

on the basis of concurrent sentencing. Accordingly, Mr. Espinosa is not entitled to the relief

requested in his Motion for Credit for Time Served. 23


18
     See Newman v. Cozza-Rhodes, 526 Fed.Appx. 818, 821 (10th Cir. 2013).
19
     See id.
20
     See 18 U.S.C. § 3585(a); Binford, 436 F.3d at 1255.
21
     Newman, 526 Fed.Appx. at 822 (citing 18 U.S.C. § 3585(b)).
22
     Id. (citing 18 U.S.C. § 3584(a)).
23
     See Motion for Credit for Time Served.



                                                                                                      4
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                                                ORDER

               IT IS HEREBY ORDERED that Mr. Espinosa’s Motion for Credit for Time Served 24 is

DENIED.

               Signed April 12, 2016.

                                                 BY THE COURT


                                                 ________________________________________
                                                     District Judge David Nuffer




24
     See id.



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